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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS

ACTING UNITED STATES TRUSTEE                                                      DAVID MICHAEL PETERS


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Haeji Hong, U.S. Trustee Office                                                  PETERS, DAVID, The Oracle Lawyers
880 Front Street, Suite 3230                                                     191 Calle Magdalena Ste 200
San Diego, CA 92101                                                              Encinitas, CA 92024-3750
(619) 557-5013                                                                   (760) 452-6750
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin
            x                                      □x Debtor     □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
  Denial of Debtor's discharge pursuant to 11 U.S.C. § 727(a)(2), (a)(3), (a)(4), and (a)(6)




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □ 72-Injunctive relief – other
□x 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO. 23-00105-MM7
               DAVID MICHAEL PETERS
DISTRICT IN WHICH CASE IS PENDING                        DIVISION OFFICE                                NAME OF JUDGE
    Southern District of California                       San Diego                                     Honorable Margaret M. Mann
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


 /s/Haeji Hong

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

July 17, 2023                                                           Haeji Hong


                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 1   HAEJI HONG, ATTORNEY #198503
     TRIAL ATTORNEY
 2   OFFICE OF THE UNITED STATES TRUSTEE
     880 Front Street, Suite 3230
 3   San Diego, CA 92101
     (619) 557-5013
 4
     Attorney for
 5   TIFFANY L. CARROLL
     ACTING UNITED STATES TRUSTEE
 6
                          UNITED STATES BANKRUPTCY COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8   In re:                                      ) Case No.: 23-00105-MM7
                                                 )
 9   DAVID MICHAEL PETERS,                       )
                                                 ) Adversary Proceeding No.: _______
10                  Debtor.                      )
                                                 ) COMPLAINT OBJECTING TO
11   ACTING UNITED STATES                        ) DEBTOR’S DISCHARGE
     TRUSTEE,                                    ) PURSUANT TO 11 U.S.C. §§
12                                               ) 727(a)(2), 727(a)(3), 727(a)(4), AND
                    Plaintiff,                   ) 727(a)(6)
13            vs.                                )
                                                 )
14   DAVID MICHAEL PETERS,                       )
                                                 )
15                 Defendant.                    )
16            The Acting United States Trustee (the “United States Trustee” or “Plaintiff”)
17   believes and, therefore, alleges:
18                                 GENERAL ALLEGATION
19                               JURISDICTION AND VENUE
20            1.    This is an adversary proceeding in which Plaintiff is requesting a
21   denial of Defendant’s discharge. The court has jurisdiction over this adversary
22   proceeding pursuant to 28 U.S.C. § 1334, General Order 312-E of the United
23   States District Court, Southern District of California and 11 U.S.C. § 727. This is
24   a core proceeding under 28 U.S.C. § 157(b)(2)(J). Venue is proper in this district
25   consistent with 28 U.S.C. § 1409 as the underlying bankruptcy case is being
26
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28
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 1   administered in this district. Plaintiff consents to the entry of final orders or
 2   judgments.
 3                                             PARTIES
 4           2.    Plaintiff is the Acting United States Trustee for the Southern District
 5   of California, Region 15, which comprises the judicial district of the Southern
 6   District of California. Plaintiff has standing to bring this complaint to object to the
 7   discharge of debtor, David Michael Peters (“Debtor” or “Defendant”), pursuant to
 8   11 U.S.C. § 727(c)(1).1
 9           3.    Defendant is a Debtor who commenced this case with the filing of a
10   certificate of credit counseling on January 20, 2023 (“Commencement Date”) and
11   voluntary petition under Chapter 11 of the Bankruptcy Code on January 22, 2023
12   (the “Petition Date”).
13           4.    On April 11, 2023 (“Conversion Date”), the Court entered an order
14   converting this case to Chapter 7.
15           5.    Thereafter, Leonard J. Ackerman (the “Chapter 7 Trustee”) was
16   appointed as the Chapter 7 trustee appointed in this case.
17                          STATEMENTS TO SUPPORT CLAIMS
18           A.    Monthly Operating Reports
19           6.    Defendant filed a certificate of credit counseling, instead of the
20   voluntary petition, on January 20, 2023 to initiate this bankruptcy case; he filed the
21   petition under Chapter 11 on January 22, 2023 to correct the inaccurate document
22   filed on January 20, 2023.
23           7.    Defendant was required to file four (4) monthly operating reports with
24   the Court from the Commencement Date of January 20, 2023 through the
25   Conversion Date of April 11, 2023.
26           8.    Defendant filed no monthly operating reports as of the filing of this
27
     1
      Unless otherwise noted, all section references are to the Bankruptcy Code 11 U.S.C. §§ 101 –
28
     1532, and all rule references are to the Federal Rules of Bankruptcy Procedure 1001-9037.

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 1   complaint.
 2         9.     Because Defendant failed to file any monthly operating reports,
 3   Defendant did not report any financial activity.
 4         B.     Debtor-in-Possession Bank Account
 5         10.    The United States Trustee never received any proof of the opening of
 6   the Debtor-in-Possession (“DIP”) bank account and is not aware if the estate’s
 7   funds were transferred or kept in a DIP bank account.
 8         C.     Failure to File and Submit Documents Pursuant to Conversion
 9         Order
10         11.    On April 11, 2023, the Court entered the Court Modified Order
11   Converting Case Under Chapter 11 to Case Under Chapter 7 (“Conversion
12   Order”), as Docket No. 141 and ordered Defendant to file, among other things:
13                a.     A schedule of all unpaid debts incurred after the
14   commencement of the chapter 11 case, including the name and address of each
15   creditor, within 14 days of the date of the Conversion Order;
16                b.     A final report and account and transmit to the United States
17   Trustee, within 30 days of the Conversion Order;
18                c.     Schedules and Statement of Financial Affairs as required by
19   FRBP 1019(1)(A) and 1007(b), within 14 days of the Conversion Order.
20         12.    None of the required documents enumerated in Paragraph 11 were
21   filed with the Court within the deadlines set in the Conversion Order.
22         D.     United States Trustee’s Further Request for Information at
23         Meeting of Creditors
24         13.    At the meeting of creditors held pursuant to § 341(a) on June 6, 2023,
25   the United States Trustee’s Office appeared and requested the following to be
26   produced by June 30, 2023:
27                a.     Filing of full and complete monthly operating reports that
28   should have been filed in chapter 11 for the months of January through April 2023,

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 1   including bank statements of all bank accounts that was open at that time (DIP
 2   bank accounts and/or pre-petition bank accounts); and
 3                b.      Supporting documents regarding accounting of and explanation
 4   of all funds disbursed between March 23, 2023 (the date of the court hearing
 5   converting the case to chapter 7) and April 11, 2023.
 6         14.     At the meeting of creditors held pursuant to § 341(a) on June 6, 2023,
 7   the United States Trustee’s Office appeared and requested the following to be
 8   produced by July 5, 2023:
 9                a.      Filing of a schedule of all unpaid debts incurred after the
10   commencement of the chapter 11 case, including the name and address of each
11   creditor;
12                b.      Filing and forwarding to the United States Trustee’s Office a
13   final report and account pursuant to FRBP 1019(5)(A)(ii);
14                c.      Filing of accurate and complete Schedules and Statement of
15   Financial Affairs;
16                d.      Supporting documents regarding Defendant’s ownership
17   interest and fund transfers in and out of Fee Structured Plus;
18                e.      Supporting documents regarding Defendant’s ownership
19   interest and fund transfers in and out of Lifetime Financial Advisors; and
20                f.      Supporting documents regarding Defendant’s interest in Via
21   Valente LLC (which was already requested from the Defendant while the case was
22   pending in chapter 11).
23         15.    On June 8, 2023, the United States Trustee’s Office emailed the
24   Defendant re-iterating the request made at the meeting of creditors.
25         16.    Defendant has not filed any of the required documents directed by the
26   Court in the Conversion Order or subset of the documents that the United States
27   Trustee’s Office requested to be filed by July 5, 2023 as of the filing of this
28   complaint.

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 1          17.    The United States Trustee’s Office has not received any documents
 2   responsive to the request made at the meeting of creditors on June 6, 2023.
 3                                    CLAIMS FOR RELIEF
 4    FIRST CAUSE OF ACTION: DENIAL OF DISCHARGE FOR FAILURE
 5       TO ABIDE BY CONVERSION ORDER UNDER 11 U.S.C. § 727(a)(6)
 6          18.    Plaintiff incorporates by reference paragraphs 1 through 17, as though
 7   fully set forth herein.
 8          19.    The Court has entered the Conversion Order directing Defendant to
 9   file certain documents with the Court and to transmit certain documents to the
10   United States Trustee’s Office.
11          20.    Defendant failed to file or transmit to the United States Trustee’s
12   office any of the required documents by the deadlines set forth in the Conversion
13   Order.
14          21.    The United States Trustee’s Office specifically requested certain
15   documents to be filed and document to be transmitted to the United States
16   Trustee’s Office pursuant to the Conversion Order at the meeting of creditors on
17   June 6, 2023.
18          22.    Therefore, Defendant has refused to obey lawful order of the Court.
19          23.    The discharge of Defendant should be denied under 11 U.S.C. §
20   727(a)(6).
21         SECOND CAUSE OF ACTION: DENIAL OF DISCHARGE FOR
22      FAILURE TO FILE MONTHLY OPERATING REPORTS UNDER 11
23                                       U.S.C. § 727(a)(2)
24          24.    Plaintiff incorporates by reference paragraphs 1 through D.23, as
25   though fully set forth herein.
26          25.    Defendant failed to file any monthly operating reports for the months
27   of January 2023 through April 2023.
28          26.    Defendant’s failure to file the monthly operating reports was done

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 1   with intent to hinder, delay, or defraud a creditor to conceal property of the estate.
 2          27.     By failing to file the monthly operating reports, Defendant has
 3   concealed property of the estate, after the date of the filing of the petition.
 4          28.     The discharge of Defendant should be denied under 11 U.S.C. §
 5   727(a)(2).
 6    THIRD CAUSE OF ACTION: DENIAL OF DISCHARGE FOR FAILURE
 7       TO FILE MONTHLY OPERATING REPORTS AND TO PROVIDE
 8            REQUESTED INFORMATION UNDER 11 U.S.C. § 727(a)(3)
 9          29.     Plaintiff incorporates by reference paragraphs 1 through 28, as though
10   fully set forth herein.
11          30.     Defendant failed to file any monthly operating reports for the months
12   of January 2023 through April 2023.
13          31.     Defendant failed to provide, among other things, proof of the opening
14   of the DIP bank account to the United States Trustee’s Office.
15          32.     Defendant failed to provide information that the United States
16   Trustee’s Office requested at the meeting of creditors held pursuant to § 341(a) on
17   June 6, 2023 as set forth in paragraphs D.13 and D.14.
18          33.     By failing to file any monthly operating reports and provide proof of
19   the opening of DIP bank account and requested information, Defendant has
20   concealed, destroyed, mutilated, falsified, or failed to keep or preserve any
21   recorded information, including books, documents, records, and papers, from
22   which Defendant’s financial condition or business transactions might be
23   ascertained.
24          34.     The discharge of Defendant should be denied under 11 U.S.C. §
25   727(a)(3).
26          ///
27          ///
28          ///

     COMPLAINT

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 1         FOURTH CAUSE OF ACTION: DENIAL OF DISCHARGE FOR
 2   FAILURE TO FILE MONTHLY OPERATING REPORTS AND PRODUCE
 3     DOCUMENTS CONVERSION ORDER UNDER 11 U.S.C. § 727(a)(4)(D)
 4          35.    Plaintiff incorporates by reference paragraphs 1 through 34, as though
 5   fully set forth herein.
 6          36.    Defendant knowingly and fraudulently failed to file any monthly
 7   operating reports for the months of January 2023 through April 2023.
 8          37.    Defendant knowingly and fraudulently failed to produce any
 9   documents responsive to the Conversion Order.
10          38.    The Chapter 7 Trustee and the United States Trustee are entitled to
11   monthly operating reports that have not been filed and to monthly operating reports
12   that show all of Defendant’s bank accounts, including Defendant’s DIP bank
13   account, as those monthly operating reports relate to Defendant’s property and
14   financial affair.
15          39.    The Chapter 7 Trustee and United States Trustee are entitled to
16   documents responsive to the Conversion Order to determine the Debtor’s financial
17   affairs.
18          40.    Therefore, the discharge of Defendant should be denied under 11
19   U.S.C. § 727(a)(4)(D).
20                                    PRAYER FOR RELIEF
21          WHEREFORE, Plaintiff prays that the discharge of Defendant’s debts be
22   denied and that Plaintiff have such other and further relief as is just.
23                                              Respectfully submitted,
24                                              TIFFANY L. CARROLL
                                                ACTING UNITED STATES TRUSTEE
25
26
     Dated: July 17, 2023                By: /s/ Haeji Hong
27                                                    Haeji Hong,
                                                      Attorney for the Acting United States
28                                                    Trustee

     COMPLAINT

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